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In the United States District Court
for the Southern District of Georgia
Brunswick Division

RICARDO AYALA,

Petitioner, CIVIL ACTION NO.: 2:24-cv-106

Vv.

WARDEN G. SWANEY,

Respondent.
ORDER

The Magistrate Judge issued a Report and Recommendation for
the Court to dismiss Petitioner Ricardo Ayala’a (“Ayala”) 28 U.S.C.
§ 2241 Petition for Writ of Habeas Corpus based on his failure to
follow this Court’s directives and Local Rules. Dkt. No. 12.
Ayala did not file Objections to this Report and Recommendation,
and the time to do so has elapsed. In fact, this Court’s mailing
was returned as undeliverable, with the notations: “Return to
Sender” and “Return to Sender, Refused, Unable to Forward.”

Dkt. No. 15 at l.
Thus, upon review, I find no clear error in the Magistrate
Judge’s Report and Recommendation and ADOPT the Report and

Recommendation as the opinion of the Court. See Macort v. Prem,

Inc., 208 F. App’x 781, 784 (11th Cir. 2006) (If no specific
objections are made or no objections are made at ali, “the

appropriate standard of review for the report and recommendation
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is clear error.”). I DISMISS without prejudice Ayala’s 28 U.S.C.
§ 2241 Petition for Writ of Habeas Corpus, DIRECT the Clerk of
Court to CLOSE this case and enter the appropriate judgment of
dismissal, and DENY Ayala in forma pauperis status on appeal.

SO ORDERED, this / day of December, 2024.

HON, LISA GODBEY WOOD, JUDGE™
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
